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                            IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF NEW MEXICO

ISIDORIO PADILLA,

               Plaintiff,
v.                                                          1:20-cv-00089-PJK-LF

CODY MARTINEZ, DERRICK VALDEZ
GABRIEL WADT, THE CITY OF ESPANOLA,
And DOES 1-50,

               Defendants.

                                INITIAL SCHEDULING ORDER

       This case is assigned to me for scheduling, case management, discovery and other non-

dispositive motions. The Federal Rules of Civil Procedure and the Court’s Local Rules of Civil

Procedure will apply to this lawsuit.

       The parties, appearing through counsel or pro se, will “meet and confer” no later than

Thursday, April 09, 2020, to formulate a provisional discovery plan. FED. R. CIV. P. 26(f). The

time allowed for discovery is generally 120 to 150 days. The parties will cooperate in preparing

a Joint Status Report and Provisional Discovery Plan (“JSR”). Please visit the Court’s website,

www.nmcourt.fed.us, to download the standardized Joint Status Report and Provisional

Discovery Plan form. The blanks for suggested/proposed dates are to be filled in by the parties.

Actual dates will be promulgated by order of the Court shortly after the Rule 16 scheduling

conference. Plaintiff, or defendant in removed cases, is responsible for filing the JSR by

Thursday, April 16, 2020.

       Good cause must be shown and the Court’s express and written approval obtained for any

modification of the dates in the scheduling order that issue from the JSR.
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         Initial disclosures under FED. R. CIV. P. 26(a)(1) shall be made within fourteen (14) days

of the meet-and-confer session.

         A Rule 16 scheduling conference will be conducted by telephone on Thursday, April

23, 2020, at 2:30 p.m. 1 Counsel shall call my AT&T toll-free conference line at 1-888-363-

4734 and dial access code 5407449 to be joined to the proceedings.

         At the Rule 16 scheduling conference, counsel should be prepared to discuss discovery

needs2 and scheduling, all claims and defenses, the use of scientific evidence and whether a

Daubert3 hearing is needed, initial disclosures, and the time of expert disclosures and reports

under FED. R. CIV. P. 26(a)(2). We also will discuss settlement prospects and alternative dispute

resolution possibilities and consideration of consent pursuant to 28 U.S.C. § 636(c). Client

attendance is not required.

         Plaintiff(s) shall serve a copy of this order on any parties that have been served but have

not yet entered an appearance, and shall file a certificate of service with the Court documenting


1
 If you wish to appear in person, please advise my chambers at least 48 hours before the
scheduling conference. If appearing in person, please appear in my chambers, Suite 680, Pete V.
Domenici United States Courthouse, 333 Lomas Blvd., Albuquerque, New Mexico.
2
  The Court will not entertain any motion to resolve a discovery dispute pursuant to FED. R. CIV.
P. 26 through 37, or a motion to quash or modify a subpoena pursuant to FED. R. CIV. P. 45(c),
unless the attorney for the moving party has conferred or has made reasonable effort to confer
with opposing counsel concerning the matter in dispute prior to filing the motion. Every
certification required by FED. R. CIV. P. 26(c) and 37 and this rule related to the efforts
of the parties to resolve discovery or disclosure disputes must describe with particularity the
steps taken by all attorneys to resolve the issues in dispute. A “reasonable effort to confer”
means more than mailing or faxing a letter to the opposing party. It requires that the parties in
good faith converse, confer, compare views, consult, and deliberate, or in good faith attempt to
do so. Absent exceptional circumstances, parties should converse in person or telephonically.
3
    Daubert v. Merrell Dow Pharmaceuticals, 509 U. S. 579 (1993).

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such service. Plaintiff(s) shall serve a copy of this order on any parties not yet served along with

the summons and complaint.



                                              ________________________________________
                                              Laura Fashing
                                              United States Magistrate Judge




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